Case 3:23-cv-03417-VC   Document 562-41   Filed 04/25/25   Page 1 of 8




         EXHIBIT 142
      Case 3:23-cv-03417-VC      Document 562-41        Filed 04/25/25     Page 2 of 8

             HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY – Case No. 3:23-cv-03417-VC      1


                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA



RICHARD KADREY, an individual; et al.,

                  v.

META PLATFORMS, INC., a Delaware                       Case No. 3:23-cv-03417-VC
corporation;
               Defendant.




                       EXPERT REPORT OF PROF. MICHAEL SINKINSON, PH.D.
                            Signed in Evanston, Illinois on January 10, 2025




                            ________________________________________

                                       Michael Sinkinson, Ph.D.
           Case 3:23-cv-03417-VC                  Document 562-41                Filed 04/25/25           Page 3 of 8

                    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY – Case No. 3:23-cv-03417-VC                                          19


      and audio books has been steadily increasing. According to the Association of American Publisher’s annual
      report in 2023, digital and audio books made up 21 percent of total trade books (as defined below) sold,
      with e-book revenues up by 0.6 percent from the previous year.122 Another 2023 survey found that 53 percent
      of American adults have listened to an audiobook, a 7 percent increase from the previous year, indicating
      an increasing demand for digital format books.123

50.   There are approximately 49,450 professional authors in the United States according to the U.S. Bureau of
      Labor Statistics’ 2023 report.124 This was down from an all-time high of 54,010 authors in 2022.125 Numbers
      are not yet available for 2024. These statistics are a generous view of the total number of authors publishing
      books every year, as it also includes writers and authors in advertising, news and media.126 There are also a
      number of authors whose primary profession is not as a writer, and they are therefore not accounted for in
      this data.127

51.   There are five major publishing houses, including Penguin Random House, HarperCollins, Macmillan,
      Simon & Schuster, and Hachette, which collectively account for roughly 80 percent of the U.S. market for
      trade books, while the remaining 20 percent of the market includes a variety of small-to-medium publishing
      houses.128 As I will explain below in Section V.C, the term trade book in the book publishing industry
      generally refers to a book targeted toward a general audience and available through a variety of sales
      channels (as opposed to textbooks or reference books targeted towards educational, academic or professional
      markets). Additionally, authors have the ability to self-publish their books through services such as
      Amazon’s Kindle Direct Publishing (KDP), launched in 2007.129 Over the last decade, the self-publishing
      industry has experienced massive growth, as evidenced by the significant increase in the number of ISBNs
      issued for self-published works. In 2011, the total number of self-published ISBNs issued stood




122
    Porter Anderson, “AAP StatShot: In 2023, US Revenues Were $12.6 Billion,” Publishing Perspectives, 26 Mar 2024, available at
     https://publishingperspectives.com/2024/03/aap-statshot-in-2023-us-revenues-were-12-6-billion/, accessed on 29 Sep 2024.
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    Porter Anderson, “APA Report: US Sees Double-Digit Audiobook Sales Growth for 11th Year,” Publishing Perspectives, 1 Jun 2023,
     available at https://publishingperspectives.com/2023/06/apa-report-audio-sales-in-double-digits-for-11th-year/, accessed on 29 Sep
     2024.
124
    Amy Watson, “Number of writers and authors in the U.S. 2011-2023,” Statista, 12 Apr 2024, available at
     https://www.statista.com/statistics/572476/number-writers-authors-usa/#statisticContainer, accessed on 29 Sep 2024.
125
    Amy Watson, “Number of writers and authors in the U.S. 2011-2023,” Statista, 12 Apr 2024, available at
     https://www.statista.com/statistics/572476/number-writers-authors-usa/#statisticContainer, accessed on 29 Sep 2024.
126
    “Occupational Employment and Wage Statistics, May 2023,” U.S. Bureau of Labor Statistics, available at
     https://www.bls.gov/oes/current/oes273043.htm, accessed on 29 Sep 2024.
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    “Occupational Employment and Wage Statistics, May 2023,” U.S. Bureau of Labor Statistics, available at
     https://www.bls.gov/oes/current/oes273043.htm, accessed on 29 Sep 2024.
128
    Magda Wojcik, “5 biggest book publishing companies: A guide for authors,” MW Editing, 12 Feb 2024, available at
     https://www.mwediting.com/biggest-book-publishing-companies/, accessed on 29 Sep 2024.
129
    “How Amazon's self-publishing service has empowered authors and diversified publishing over the last 15 years,” Amazon, 17 Nov
     2022, available at https://www.aboutamazon.com/news/books-and-authors/amazon-self-publishing-empowers-authors, accessed on
     29 Sep 2024.
           Case 3:23-cv-03417-VC                     Document 562-41                 Filed 04/25/25             Page 4 of 8

                     HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY – Case No. 3:23-cv-03417-VC                                                20


       at 526,907.130 By 2021, this figure had increased to 2,298,004, a 336 percent increase over ten years. 131
       Notably, the roughly 2.3 million titles self-published in the U.S. in 2021, is also significantly higher than
       the 500,000 to 1 million books that were published through established publishers in the U.S. market.132
       Overall, there are millions of new books published every year through traditional publishers or self-
       publishing platforms.

                    2) Copyright Laws Protect an Author’s Original Work to Incentivize the Production of
                       Novel Creative Works
52.    I am not a lawyer, so for purposes of my analysis, I rely on Counsel to inform my understanding of the
       relevant provisions of the copyright laws. In this section, I will provide an overview of that understanding,
       and further discussion of the economic underpinnings and implications of those laws.

53.    Article I, Section 8, Clause 8 or the U.S. Constitution secures to Congress the “Power … [t]o promote the
       Progress of Science and useful Arts” through the issuance of patents and copyrights. Intellectual property
       laws, generally speaking, seek to incentivize the production and publication of novel intellectual works,
       such as inventions and creative works, for the benefit of the public.133 Copyright protection enables authors
       to monetize and safeguard their creative works by giving them recourse against unauthorized use.134

54.    Copyright protection is granted to an original work of authorship created by a human author that exhibits a
       minimum threshold of originality or creativity.135 Copyright protection does not extend to ideas, processes,
       concepts, or discoveries within a work, although it may still protect their unique expression.136




130
    Jim Milliot, “Self-Publishing Is Thriving, According to Bowker Report,” Publishers Weekly, 17 Feb 2023, available at
      https://www.publishersweekly.com/pw/by-topic/industry-news/publisher-news/article/91574-self-publishing-is-thriving-according-
      to-bowker-report.html, accessed on 4 Jan 2025.
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    Jim Milliot, “Self-Publishing Is Thriving, According to Bowker Report,” Publishers Weekly, 17 Feb 2023, available at
      https://www.publishersweekly.com/pw/by-topic/industry-news/publisher-news/article/91574-self-publishing-is-thriving-according-
      to-bowker-report.html, accessed on 4 Jan 2025.
132
    Rob Errera, “How Many Books Are Published Each Year? [2024 Statistics],” Toner Buzz, 18 Aug 2023, available at
      https://www.tonerbuzz.com/blog/how-many-books-are-published-each-year/, accessed on 30 Sep 2024.
133
    Congress is empowered to “Promote the Progress of Science and useful Arts, by securing for limited Times to Authors and Inventors
      the exclusive Right to their respective Writings and Discoveries.” See Article I, section 8, clause 8 of the United States Constitution,
      available at https://www.archives.gov/founding-docs/constitution-transcript, accessed on 30 Sep 2024; see also “Intellectual
      Property,” Cornell Law School, Jun 2023, available at https://www.law.cornell.edu/wex/intellectual_property, accessed 30 Sep
      2024.
134 “Intellectual Property,” Cornell Law School, Jun 2023, available at https://www.law.cornell.edu/wex/intellectual_property, accessed

      on 30 Sep 2024.
135
    The U.S. Supreme Court has emphasized that a work must possess a “spark” and “modicum” of creativity to qualify. In Feist
      Publications v. Rural Telephone Service, 499 U.S. 340 (1991), the Supreme Court held that a work must have “some minimal
      degree of creativity.” See “Copyright,” Cornell Law School: Legal Information Institute, available at
      https://www.law.cornell.edu/wex/copyright, accessed on 30 Sep 2024.
136
    This is codified in 17 U.S.C. § 102, which states: “In no case does copyright protection for an original work of authorship extend to
      any idea, procedure, process, system, method of operation, concept, principle, or discovery, regardless of the form in which it is
      described, explained, illustrated, or embodied in such work.” Feist Pub’s, Inc. v. Rural Telephone Svc. Co., 499 U. S. 340, 359
      (1991) (“[F]acts contained in existing works may be freely copied.”); see “Copyright,” Cornell Law School: Legal Information
      Institute, available at https://www.law.cornell.edu/wex/copyright, accessed on 30 Sep 2024.
           Case 3:23-cv-03417-VC                   Document 562-41                Filed 04/25/25            Page 5 of 8

                    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY – Case No. 3:23-cv-03417-VC                                            32


      market to Llama. To do this, in Section VI.A, I provide an empirical analysis of whether there is any
      indication that the release of Llama has led to any actual substitution away from original works. In Section
      VI.B, I consider factors related to substitutability of the original works. I examine the potentially positive
      effects of the release of Llama on the original market in Section VI.C. While I find no indication of
      substitution or substitutability in the original market, an economic analysis related to the capabilities of
      Llama indicates that the release of Llama likely has a positive effect on authors’ ability to market their books
      in their original market. Overall, I do not find any empirical or theoretical evidence of a negative effect of
      Llama on the original market for trade books.

         A. Book Sales Are Not Negatively Affected by the Release of Llama 3, as Evidenced by My
            Empirical Analysis of Book Sales
                   1) The Effect of the Release of Llama 3 on Sales of Plaintiffs’ Books Is an Appropriate
                      Scope for My Empirical Analysis
93.   In this section, I examine the empirical evidence on whether the release of Llama 3 affected the sales of
      books allegedly used as training data for Llama. As explained above, this analysis is relevant to Factor 4 of
      fair use, that is, “the effect of the use upon the potential market for or value of the copyrighted work.”

94.   There are various potential mechanisms through which the release of Llama may, in principle, have affected
      the sales of books allegedly used as AI training data. First, the release of Llama could theoretically have
      provided a means to consume the content of books used as AI training data as an alternative to purchasing
      the books themselves. Second, the release of Llama could hypothetically have provided consumers with a
      complementary (rather than substitute) use that boosts demand and purchases for books used as AI training
      data, as discussed in Section V.D. Third, the release of Llama could have provided consumers with a
      complementary (rather than substitute) use, such as criticism and commentary, that dampens demand for
      such books; this would not, however, be a cognizable harm under the Copyright Act, as discussed in Section
      V.B.190

95.   To estimate the potential effects of the release of Llama 3 on the sales of books allegedly used as training
      data for Llama, I rely on an econometric estimation methodology called first differences, which is commonly
      used in empirical settings to study changes in outcomes over time.191 My methodology is supported by
      robustness checks which demonstrate that the conclusions of my analysis do not depend on any particular
      set of assumptions.

96.   My analysis focuses on the effects of the release of Llama 3, rather than the earlier releases of Llama 1 on
      February 24, 2023 or Llama 2 on July 18, 2023. Meta integrated Llama into its products and services at



190
    As noted above, the Supreme Court has held that the latter possibility—that a secondary use such as criticism or parody “kills demand
     for the original”—“does not produce a harm cognizable under the Copyright Act.” See Campbell v Acuff-Rose Music, 510 U.S. 569,
     10 591–92 (1994).
191
    “The First Difference Estimator,” Tilburg Science Hub, available at https://tilburgsciencehub.com/topics/analyze/causal-
     inference/panel-data/first-difference/, accessed on 18 Dec 2024.
           Case 3:23-cv-03417-VC                    Document 562-41                 Filed 04/25/25            Page 6 of 8

                   HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY – Case No. 3:23-cv-03417-VC                                              106


                       Table 6. First difference regression results with alternate ‘After’ durations


             Variables                         1 Week                 2 Weeks                3 Weeks                 4 Weeks
             [A]                                   [B]                    [C]                    [D]                     [E]
      [1] After Release                        -0.003**         -0.001          -0.001        -0.002***
      [2]                                  [-0.006, 0.000] [-0.003, 0.001] [-0.002, 0.001] [-0.003, -0.001]
      [3] Intercept                           0.003***        0.003***        0.003***         0.003***
      [4]                                  [ 0.003, 0.003] [ 0.003, 0.003] [ 0.003, 0.003] [ 0.003, 0.003]
      [5] Total Obs.                          8,698,339       8,749,390       8,800,027       8,851,032


                                              5 Weeks          6 Weeks          7 Weeks          8 Weeks
                                                 [F]              [G]              [H]              [I]
      [1] After Release                      -0.003***        -0.003***        -0.003***        -0.003***
      [2]                                 [-0.004, -0.002] [-0.004, -0.003] [-0.003, -0.002] [-0.004, -0.002]
      [3] Intercept                           0.003***         0.003***         0.003***         0.003***
      [4]                                 [ 0.003, 0.003] [ 0.003, 0.003] [ 0.003, 0.003] [ 0.003, 0.003]
      [5] Total Obs.                         8,901,296        8,951,884        9,002,522        9,053,037
           Sources and Notes:
           [A]: Regression Output Variables.
           [B] … [I]: Duration of ‘After’ period starting the week of Llama 3’s release (April 18, 2024).
           [1] & [6]: Coefficient estimates for ‘After’ in first difference regression equation.
           [2] & [7]: Confidence interval for [1] ‘After’.
           [3] & [8] Intercept estimate in first difference regression equation.
           [4] & [9] Confidence interval for [3] intercept.
           [5] & [10] Count of total observations in regression estimation.
           *, **, and *** denote statistical significance at the 0.1, 0.05, and 0.01 level.

281. The results provide me with a pair of estimates pertaining to value and precision of 𝛽. First is a point
       estimate, which is an estimate of 𝛽 and is shown in row [1], and second is a standard error, which is an
       indication of how precise the point estimate is. With these two estimates, I can obtain a confidence interval
       for 𝛽, which is shown in row [2]. A confidence interval is an interval around the point estimate that provides,
       for a desired confidence level, the likelihood that the true value of 𝛽 lies within that interval.

282. In the results in Table 6, I provide the point estimate of 𝛽 and the associated 95 percent confidence interval
       that indicates a 95 percent confidence that 𝛽 lies within this interval. 471

283. Table 6 indicates that in the first three weeks following Llama 3’s release (Column [E]), there is no
       detectable change472 in relative sales ranks for books in the sample relative to all other books tracked by


471
    According to statistical properties, the 95 percent confidence interval of a point estimate is approximately 1.96 times the standard
     error above and below the point estimate. This means that for a hypothetical point estimate of 10 and a standard error of 2, the 95
     percent confidence interval is 10 ± (1.96 x 2), or the interval (6.08, 13.92).
472
    Up to a precision of 3 decimal points.
             Case 3:23-cv-03417-VC                  Document 562-41               Filed 04/25/25          Page 7 of 8

                    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY – Case No. 3:23-cv-03417-VC                                          107


         Keepa. In the first eight weeks after Llama 3’s release (Column [I]), there was an approximately an 0.3
         percent decline in the numerical value of the sales ranks (i.e., an improvement in ranks) for the books in
         sample. This corresponds to an improvement of approximately 3 spots for a book that is previously ranked
         1000, or a rise in 3000 spots for a book that is previously ranked 1,000,000.

284. Table 6 also indicates the estimated value of the intercept, a, in row [3] and the associated 95 percent
         confidence interval of a in row [4]. The estimate of 0.003, which corresponds to approximately 0.3 percent,
         indicates that books typically exhibit a trend of a 0.3 percent decline in sales rank from week to week. This
         value, which is statistically significant and precisely estimated, is consistent with the earlier Figure 12
         illustrating the typical book’s sales rank trend.

285. Table 6 indicates no substantive change in sales rank for books in the Books3 dataset relative to all other
         books tracked by Keepa, and does not detect a detrimental impact.

                     4) Placebo Comparison to Validate the Negligibility of the Treatment Effect
286. To assess the robustness of my empirical findings, I employ a “placebo test” using a placebo sample. In
         statistics, a placebo sample is a sample of the data which is not exposed to the treatment of interest.473

287. I examine whether there is a “response” in sales rank following weeks when Llama 3 was not released yet.
         Specifically, I estimate the FD regression for each week between June 2021 and April 2024, which provides
         me a total of 151 coefficient estimates. One of these estimates – the last one – corresponds to the release of
         Llama 3, which is compared against the distribution of earlier placebo estimates to detect whether it is
         significantly different. I repeat this exercise for the different treatment durations considered in my main
         analysis (1-8 weeks). Any estimations where the week duration is larger than 1 week and overlaps with the
         week of the release of Llama are dropped to avoid potentially picking up a response to the release of Llama.

288. In Table 7 I provide summary statistics on the eight distributions of placebo coefficient estimates. In Column
         [B], I show the percent of estimates that are larger in value than the estimate corresponding to Llama 3’s
         release, and in Column [C] I show the percent of estimates that are larger in magnitude than the estimate
         corresponding to Llama 3’s release, each separately for the eight placebo distributions corresponding to the
         duration of the “After” period. They summarily indicate that a substantial share of coefficients is numerically
         larger or further from 0 than the estimate corresponding to Llama 3’s release, indicating that during the few
         months shortly following Llama 3’s release, books in the sample exhibited typical sales rank patterns. The
         remaining columns in Table 7 provide the mean, median, 5th percentile and 95th percentile of each placebo
         distribution, and highlight the narrow bound for the typical change in sales rank patterns.




473
      Ting Ye, Shuxiao Chen and Bo Zhang, “The Role of Placebo Samples in Observational Studies,” ArXiv, 5 Jul 2022, available at
       https://arxiv.org/pdf/2205.10761.
          Case 3:23-cv-03417-VC             Document 562-41            Filed 04/25/25      Page 8 of 8

                HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY – Case No. 3:23-cv-03417-VC                            108


                              Table 7. Summary Statistics of Placebo Distributions

                          Percent Larger  Percent
                                                                                              5th         95th
    Duration              Than Llama 3 Further From           Mean            Median
                                                                                           Percentile   Percentile
                             Estimate        0
    [A]                        [B]          [C]                 [D]             [E]            [F]         [G]
[1] 1 Week                     65%            64.00%           0.000          -0.001         -0.016       0.017
[2] 2 Weeks                    49%            83.89%           0.000          -0.001         -0.012       0.011
[3] 3 Weeks                    45%            88.51%           0.000          -0.001         -0.008       0.009
[4] 4 Weeks                    59%            62.59%           0.000          -0.001         -0.006       0.009
[5] 5 Weeks                    83%            34.93%           0.000          -0.001         -0.007       0.008
[6] 6 Weeks                    83%            34.48%           0.000          -0.001         -0.006       0.008
[7] 7 Weeks                    82%            37.50%           0.000          -0.001         -0.005       0.007
[8] 8 Weeks                    83%            32.17%           0.000          -0.001         -0.005       0.007

          Sources and Notes: Analysis of Keepa sales rank data.
          [A]: Duration of “After” period in regression equation.
          [B]: The percent of placebo coefficient estimates that are numerically larger (more positive) than the
          coefficient estimate corresponding to Llama 3’s release
          [C]: The percent of placebo coefficient estimates that are further from zero (larger in absolute value)
          than the coefficient estimate corresponding to Llama 3’s release
          [D]: The mean of the placebo distribution
          [E]: The median of the placebo distribution
          [F]: The 5th percentile of the placebo distribution
          [G]: The 95th percentile of the placebo distribution.

289. Consistent with the previous results, Table 7 indicates that the changes in sales rank pattern in the weeks
     following Llama 3’s release are highly typical relative to sales rank patterns in the preceding three years
     before Llama 3’s release. These results indicate that Llama 3’s release cannot be associated with a worsening
     of sales ranks among books that were used for training Llama 3.
